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          From:                        GoDaddy
          Sent:                        Wednesday, October 21, 2020 5:54 PM CDT
          To:                          lindenbuilders@gmail.com
          Subject:                     Federico Nell, thank you for your order.




                                                                                                                     Need help? Contact us.



                                   GoDaddy                                                                     Customer Number: 180153022




                     Thanks for your order, Federico.




                     Here's your confirmation for order number 1766422789. Review your receipt and get started using your products.




                                                                    Access All Products




                     Order Number: 1766422789


                                                Product                               Quantity             Term           Price

                         .COM Domain Registration                                    1 Domain             10 Years           $126.20
                          trojanev.com

                         Full Domain Privacy and Protection                               1 Unit           1 Year             $71.46
                          trojanev.com

                                                                                            Subtotal:                        $197.66
                                                                                                   Tax:                        $0.00
                                                                                               Total:                        $197.66



                                                                 Trojan EV & GCC

                                                                      DTX-7
CONFIDENTIAL-ATTORNEYS' EYES                                         No 4:21-cv-03075
ONLY                                                                                                                                   TROJAN EV001819
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                                                               View Full Receipt




              NOTE: Your purchase includes enrollment in our automatic renewal service. This message confirms that during the

              checkout process, you agreed to GoDaddy's Universal Terms of Service Agreement, Privacy Policy and all other

              agreements applicable to your purchase. You can obtain a list of all agreements and policies to which you agreed

              by contacting GoDaddy customer service. Your use of the purchased products is governed by the terms of these

              agreements and policies. If you wish to cancel your purchase, please learn more about our Refund Policy. This

              message also confirms that during the checkout process, you agreed to enroll your products in our automatic

              renewal service. This keeps your products up and running, automatically charging then-current renewal fees to

              your payment method on file, with no further action on your part. If you do not wish to continue using our automatic

              renewal service, you can cancel by visiting the Renewals and Billing page in your account.




                                                        Enjoy 25%* off new products.


                                           Use promo code gdbb2228g in your cart when you order.




                                                                Start Shopping




CONFIDENTIAL-ATTORNEYS' EYES
ONLY                                                                                                                                 TROJAN EV001820
            Case 4:21-cv-03075 Document 153-5 Filed on 06/20/23 in TXSD Page 3 of 3




                 Activate your products today.


                 You have new products or services in your account waiting to be activated. You've paid for them – now put them to

                 work.



                                                                       Get Started




         Set my Support PIN


         *Offer good towards new product purchases only and cannot be used on product renewals. Cannot be used in conjunction with any

         other offer, sale, discount or promotion. Not applicable to ICANN fees, taxes, transfers, premium domains, premium templates,

         cloud server plans, WP Premium Support services, any marketing or design services performed by our Professional Web Services

         team, gift cards or Trademark Holders/Priority Pre-registration or pre-registration fees. After the initial purchase term, discounted

         products will renew at the then-current renewal list price. Offer may be changed without notice.


         Prices are current as of 10/21/2020 and may be changed without notice.


         Please do not reply to this email. Emails sent to this address will not be answered.


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         reserved.




                                                                                                                                     4170611523




CONFIDENTIAL-ATTORNEYS' EYES
ONLY                                                                                                                                     TROJAN EV001821
